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                       Exhibit 1
            Case 2:25-cv-13399              Document 1-1           Filed 07/16/25          Page 2 of 252 PageID: 10




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                                                                                                     Transmittal Number: 31667201
Notice of Service of Process                                                                            Date Processed: 06/19/2025

Primary Contact:           Essence Oliphant
                           Dollar Tree Stores Inc
                           500 Volvo Pkwy
                           Chesapeake, VA 23320-1604

Electronic copy provided to:                   Heather Mohr
                                               JJ Jacobson-Allen

Entity:                                       Dollar Tree Stores, Inc.
                                              Entity ID Number 3697563
Entity Served:                                Dollar Tree Stores, Inc.
Title of Action:                              L.G., a minor through her mother and natural guardian vs. Wanabana LLC
Matter Name/ID:                               L.G., a minor through her mother and natural guardian vs. Wanabana LLC
                                              (17491075)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Middlesex County Superior Court, NJ
Case/Reference No:                            MID-L-003463-25
Jurisdiction Served:                          New Jersey
Date Served on CSC:                           06/19/2025
Answer or Appearance Due:                     35 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Anglin Rea Cahalane & Pieper, P.A.
                                              609-409-0444

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                          Case 2:25-cv-13399                                    Document 1-1     Filed 07/16/25         Page 3 of 252 PageID: 11




                        AN.GLIN REEÄ;CAHALAItiiE & PIEPER, P.A.
                        Patr3ck H. Cahalane, Esq_, ID #02.1.52-1992
                        Attorney.for:Plaintiff(s)
                        10IJ5 Eastparlc. Buuievard
                        Cranbury, New Jersey 08512
                        (6a9)409O444
                                                                                               SUPERIOR COURT OF NEW JERSEY
                         L:G,. a ininor thr.uugh                         .                        LAW DIVISION
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                         GON'ZAÆZ; and, MARILYN GONZALEZ,:
                         individuully,
                                                           Plalnfiff'(5)                           MID)LESEX COUNTY
                                      vS.
                        °WANABAAIA, LLC; WAl`tAI3ANA.USA                                          Docket No. îv11D-3463-25
                        LLC; DOLLAR. TREE STORES, INC_;
                        JQ:HN DOE CORPS. 1-10                                                                Civil Action
                                                       DeJ•endrtnt(s)                                      SiJlVT1'IONS
                        Rroin the State of.New :lersey
                        To the Defendantts) named above:

                               The;plaintiff, named above,. has filed a lawsuit against you in the Superior Court of New Jersey. The
                     complaint.attached to this summc?ns'states the basis_for this lawsuit. If you dispute this complaint, you or your
                     attorney:iiiust . fale.a written answtr or motion and proof of service with the deputy clerk of the Superior Court in
                     the county listed above within .35 days from the dat.e you reeeived.this summons, not counting the datc you receiv.ed
                     it. :(The address of_each deputyclerk nf the.Superior Court is provided). [t:the coniplaint is one in foreelosure,.then
                    .you must file you written answer or motion and proof of service with the Clerlc o€ tiie Superior Court, l-lughes
                     Justice Gomplex, CN-97I, Tret3ton, N:108625. A.filing fee of $175.00 payable, to the.Cierl: of the. Superior Court
                     artd.a completed Case information. Statement (available from the deputy clerlt of the,Superior Cottrt) must
                     accompan.y your anser or motion tivhen it is tile.d. You must also send a copy of your aiiswer or,motion to
                     plainfift'.s attorn;ey whose name aiid address appear above, or to plaintiff if no attorney is named. A telephone call•
                     wilt: not protectyour rights; you mustfile and serve a wt•itten ans.wer or motion (with fee and cotnp(eted Case
                     tn'for:tnation Staternent) if you want the court to hear }rour defeise.

                             Ifyou.do not file and serve a wrstten answer..or motion within 35 days, ttre court rnay enter a judgtnent
                    :againstyo.u.for the t•elief plaintifFdetnands, pius interest and costs of suit. lf judgment is entered agai:nst you; the
                     Sheriff:may:seize your inoney,. wages or property to pay a~l or pa.rt of the judg.nent.

                                  If you cannot afford an attorney, you inay call the Legal'il'ei-vices oft'ice in the county where you live. A.
                        l:ist:offhese offces is provided. Ifyou do not have an attorney and ar•e not eligiblee for free legal assistance, yoz€
                        may obtain a:refetrtil to.an attortiey by.calling one ofthe Lawyer Referral Services. A list of tliese numbers is also
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               Case 2:25-cv-13399                                Document 1-1                Filed 07/16/25                   Page 4 of 252 PageID: 12
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                 Case 2:25-cv-13399                                   Document 1-1          Filed 07/16/25          Page 5 of 252 PageID: 13

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               Case 2:25-cv-13399                          Document 1-1                    Filed 07/16/25                      Page 12 of 252 PageID: 20

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                     4.he F.bA Alert also ;state.ci that "Ttie FL:?A hfls rcvietivcd ancl supports NC'13F-Fl-tS's analytical findings
                     and 1`outtci :thai analytical re"sitl:ts. at:this l~.vet :cottid' result in actlte tt}~ticity" ktiacl thnt it "has sliaredttie
                     restalts witli [WanaBana i?cfe.ndtititsJ u'laose rs;preseniatives are cooperating. with. thL FDA and have
                     agreed :to volttiitarily recal(:all tt'aiaaF3dtta apple:cinnatnon fruit' lauree laottcltes:re~ariftcs:, c~f ezpir~ttioii:"


                     5.The FF.)A ictentific:ii anci cotafirnied thc seriotYs iiealth ininlications tarisititY frcitn lead exposurc anci its
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               tho.Proclitcts yvere processeci, tlae'facility tiv°hich'ntixes tlxc. iitg€telicnts wltac.l3 are ltut itito•the iiti:il farorlttcts,
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                                  I3Aclditianalty, the FDA uispection repoct•conciuded that ila.c 1lfanaBana I)efendants did nc>t have an
                                  appropi•iate prez=eritativc cc.inti•c'1 aiid naanitoring procedure in place to:sign'tficantl}r minimize :or prevent
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                                 15:T1iis food safety njisconctuct =uiii t:he tailecl prc;ventztive conu•ols, as.identiFed.in thc F•DA inspection
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           "Th'e harnrful etïects of.lead.poisonrng in ctlildren can inclilde. l3ut are not liniited to: behavior frnd
      tearning'problenls,.lower IQ ttnd hypertic:t#vity, slovted growth. liearine problenns, and tlnenlia. }


      5:Tite liai~rn, that Itacl.pcisciliing iratlicis ori children :has heen well-knca4vn lìrr cle.citdes.


     6.l..eud is danael-ous to children: in'pnrticttla•,'`bec:strse their growing bodies absorb rnole lt•:ttd thanadults
     .ticttlnd thcirhrains tlinr rv<tus.systetlls.rite;nttrre si rlsitiv4 to tile claIllagzng eftE cts o1 Icttcl.' `'


     7.Indc~d,•Ehildren.atasctrb:i:tigested- tead c3m a given,source 'i-5 titl}es ntore tllan ttdutts.


     8:`Titc neLtrctloE=;ical and behavi~r~nl efïects trf lead arc hclievecl to be irriversible..'≥~


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     '1:1.Tllc World llcaltti ()rgani~:ation has also ids,nt'tfied lead as one of it 1.0 Cheirticals that ccrnstittl[c: tk
     t1ta,{or:t#niltirR'lzestttlz ctnc:~rri.`n




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                  12.Leafi in the body is knnnvn to distribitte througtiout a chilfl`4 brain, li.vet', kiclney,. attd bottcs. It is also
                  stnae4:in a cllitrl's teetll ;utd bones. wher'e it ctrn accuniulate rrvcr tirrtc.


                  13:T'he F17A and t[1e:Wortd kIcaitli.()rganizntion llatle decltrt-ed lcacl to he £lartgerotrs to hunliin Itealth.


                  1'4:Iri.addition to the.tead, the chroniiuul in defendants' contaniinated prcicluct.s represents a significant
                  Iyt:.altdi t`isl~. AItliough chrotiuttnl i:s naturaliy occtn'rirtg and trtay be nflt'nlalty tc3utld w'tlhin a tliet, atliigtl.
                  le~el.s:ii is.toxia tvToreover, t'tlel'E', is a.signit;lettllt dit'terti;nce IletwNe:ii trit't3tent C(tr()tnitn'n (t'Ilrt)nlitn'iT (TT1))
                     d'tltL signifEeantiy ttitzrt: tttiie hexttvalent chromiurll (chronlitun (VI)). C'hrQntitttn (VI) is a l:nttwn
                  carcinogeu artct has 1.ie4n. associrrteii widl.otller liealth effec.is w•hen iilgcste:d incluclitig irrita.tiotl. tttcets.
                 and. atietnia. ftltliough the llcatth efl'ects of eatiilg ('ood contatllinatect. tt=itlt chrontiunl (V]} are tlat wel(
                  ttttttrstucstl,.tlicie is it1Sti IT9 citltldl)tC tE] E1Ci1C Chr't)1111tUt7 CXrfOSUie."~


                  15..Tkie:tixore toxic arirl c1a11gC:rlltts It}ri11 of cl'Srtlillltlnl {Chrf7n13t1n1 (VI)) is lltt'rt'itl in Ic';ld Cllt'otllitte. I.,ett.ci
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                                        public:heglth eoncem. lt has•contiibutedto lead p4isciping ot'cliildron and adults arotind the ►•uorld.3°


                                        f 7d,ea4:chrotiiate is considered:a ha✓ardotts sttbstancc in •the Unzted 5tates for seeral reasons,.incluctit.tg
                                        Its carcinobenic nxture, its rtsk ofcauYinb tead poisoning, and its risk ofcausiug kidney and brain darnage.
                                        ã#nong:othtr niajor health concerns:'1


                                       1g:Given tlie negatYwe effccts of lestd. on cliild :dr.velopnient and• adult •hzaltli •the presence •of •tatese
                                       eib5~t*ces in ftiod is titaterial fo :reasonable consumers, including..Plaiittitis, .as it• •relatc:.s to their
                                       lrttrcliasing nd oonsumptiiin decisiotis:


                                        l t):Detrtdants' Products ittclucled undisclosed levels. af lead, dttr to'13c1.'cndi~nts failure to sttfticiend;y
                                       tnonitor tat"their prešence in thc~itigredients and•fint`shed products. Defcndants                                                                                            re•or should have been
                                       dw~~•of this. risk:                                                                                                                                                                                                                       .

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                          23:Defendants al.so hacl a duty= to cnsilre tltC Pt'oducts were not cleceptively, misleadinwl}', unfair.ly; and
                          falseI:y marketect and:thttt all material inforniition was propet:ly ancl l•ully disclosed.


                          24:nefendants .knew or sltoutd have knov~n tliat prolaer itncl st!tticicitt testing andlor nYr.7nitoring the
                          1'roduct:s for lead in.both tht ingreclients an(l fiitishecl prctrlucts was critical.


                          23:1)oi.irncistnts kne~~~--. yei Ciltcl to disclose:, tliitt they wcre uot suf(icii:ntly or adc;t;uately nlcsnitoring or
                          testing the Pt`oclticts tit` ingredjenis used in: the Produc{s for lcacE.


                          ?S.Ðefendiints. kttew ,4r should have kt7otiun.tht:?3 }:outd control the levels of leac{ in tlte 1'rodtacts 1.}y
                          properly ritotiitpring attd. testang tor lcad .at ingrediciit sotircing. manufacturing, and plckaginl; stages;
                          and etf~ctiitg c9tangcs }tli€n needed.


                          ?3:In a.cliiitio!1. Uefendanis knei4'.L)!'stlf7tllil 11'ct4"c I:.nC}4ti`n that. a ('CFist")nitl?Ie':'cQnsunll'r ti'w°CDltlCl cC?n`.4tin1e the
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                          cctntpany Austrctt'ooclti; wltich ships "the. W7nttt3ttna l3 roducts to ilte L€nitecl 5tates.t-'


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      had tiigher levels of leati thitn atluwi:cl by Ecuqdor.'•E


      #:.U~aoli •infcirniacitan aritThetie:f, 'fttiaBalia De:fcndants tigents vetted I4regnsrnari t:nct its cinnath0n. These
      ve.tting proceciures were e;itlier ii~t►ciequate or thr'. u'anaBana Defendant;.delilierately disregarcted in.tliat.
      the proE:edures"failed to identif ths;;lart:scnce of}iarmtisl lead;antl                           roni4tini in tlie Prodttcts:


      5.C.Ipon.infi?rntotiott and belief;                                                   1)efenclants •nor its sttptalic.r xtgents tested thc
      c iitlianiujiheforc_incorporatina it into tlte Protlucis.                                   .         .


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     staice"liioetuct tci i►iccease::tlie:kvei~iit. and therefore"tlle.valtEe, c)fthe 41tìilaniolt."


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     WanaBttrta T7cfcnel'anti;" control .anil oversight tlf its agents. incluciing it.s exckisi~'e supliLrs. that
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         mal'etrial risl. of cozitainini Icaci.


         39:Defenclartts Caiiecl to clisclose on the. Prnciucts' packagiug tlttlt ttie Products contain or liave
                                                                                                                      a niat.ertal risk
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         . etieral }~uhtie heeanii aware of the iead ccxntcnt in't.)tfencttmts' Proclticts.

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                                                                  ~F ;'•                                                                  c




                                 40.13ased..on Defendants' misrepresentitti.ons and otnissions, tm reason.able consumer, inctuding
                                Plaitytiff.s, had any reason to kqo.w, suspzct, •or. expect thAt the Prodttcts cnntained leFid.


                                4t..t?ef~ndants are aware that tlieir customers trttst the qualityF of their Products and Svoul.d not exp.ect the
                                .Produets.:to eotitain or have a niateritil risk of contaiiting lead:

                                                                                                                                                     /
                                42,Às;evideneed.by Defendants° markcting,Dzfentlants also know that reasonable consumers. especially
                                patertEs;;eek.out.products wit?i ingredientsfree oFtbxins orcontatnintittts, and thar these consttmers Will
                                paar.ttjp.re for.prc.tdttcts the}r belierc meet these standatds.


                                4J:Adfhltitant5 niso: knG~v that.:rea.wnable coitsunters watdd not knowingly cirnsttnter, or feed. to tlieir
                                fiintilips ancithjldren. pevduc4s that c~ittain lettd.


                               44.Defetidarits kniw ihat •tlic. eonsufliers. to whritn ii ntarket.s tlirr C'rciducts wuuld 6nd thei:r
                               rnisrpresentations.atxl arrriss(uns to lx: materinl Hnd tltiat L)efendants «ere. iii a.spi:cial: position of puhtie
                                ttt     to .tfiose.ctiiztuiters.



                               45:In. light .of Lletr ndants' representations regtirduig the hetilth and t.jua{ity st<nidards: of Defetrdunts'
                               operat'tons anJ I'rnducts; Defeiidants i:iiew or should hutie knowm the Prodiitts containeci r •haa a
                               material r.islt`.bf ctintaiiiiti~leiicl.


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                               ~47. 1)rf•cnciauts nusrepresentati.ons and omi5sions aklo»'ed Defeniiants tri capitalize on, aitd retilx
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                               Products' tnte gualitv and value and, in• f tct, pòisonetl their ehitdn;n.

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                                                           a.1lVH.Q..: Defendants made false statements and material tnisrepresentations
                           attd?ortimissions offact on titeir 1'rcxtucts, l:tbeling. tnartcet'tng inaterials and.in publie statements, tvhicti
                           lnclttdt; express and/or'irrtplicitrepresentatiou that thcir Products were and are free af lead and were safc
                           far,lttiriian consumption..


                                                           b.WHAT: .nefendatits falsely and niisleadingty,. and ttirougli tnisrcpr(senCatitins
                           airidot'nissit.ins,. tecl consutitets to believe-titat ttieir Products were and are freeof lead and failed to disclose
                           ihatfhe Products containtliese matcrials, Thus, Defendants' conduct deceived Plaintiti's into btlieving that
                           th        ruc.ts wcre cxeated, manufactured;.and soid with sueh qualities..th.tendants knew or shottld. ha~'e
                           knoumt.tilis inf:ormatinn•is niatcrial tu reasonable consuniers, includitig.t?laint;iffs, imtnaking ttieir decisions •
                           about.•ihe food to feedto-thei:r.chililren.,.yet Defendants continued to pervas.ively rnarket the Products as
                           possessing. qualit~i.eti thdy do nat posses.c.


                                                       c.WlilrN Def~ndants tnhde tnaterial misrepres~.~tttatioqs, false statrrnents and/or
                         ' oinissiohs bnth:priar to and at tlte tinie l'Iaintiff•i..G. eonsimted i)elendants 1'rodticts.


                                                       d.WHERI:c Gkfendants' marketing messagc was utzifonn-And pervasive. carr.ied
                          - tlirougti t:natet'iat t»isrepresenttttioits. -fals.e"staternents andlor omissions orr their -Products labeting and

                           paci:nginl;; websites, AnH.social,media ncccrunts:


                                                       2.l:tp~tr: -1.)t fendants tnadernatzi•ial misrepres4t3tittions, falsc staicnicnts mxl/br
                           prnission -regctriirng the presence of lead in [licir Products hv makin,g e~nress andtor iiitplieit                        .
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                           teittitations•iti t1iL. alyove-ref.eretic.ed: nitticrials that. their Pr~~Jucts were heglthy, safe. und tnade qf
                           prernium ittgrcdients aud:by omittittg any facts in their murketiitg, labeLing, andlor:nther descriptions of
                           their. Products-that•:would infarni a-con~utttct• as to thc pre.sence:of lead.


                                                                            CA.USIS.:()F ACl'(t)h`


                                       COUNT ONE —ALi. DEFENDANTS —STRICT LIABILITY FAILURE TO WARN


                           :F:Alt:ofthe Ftlle.gations contained inthe foregeiingparasraphs are incorporAt~d and xcalt~ged Itenein:        •




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                     ~..At titl ertitient titnes, the Wanai3ttna nefendants ere cngaged in nl<tnufactitring: marketitig. testiiig.
                     prczinotin.g. sellitig anclk~r distrii7ttt'ttlg I?rodttcts in thc regitfar coursc ct113cisiness.


                     3.At all :periinent..tinies. the Wstnai3arin l:)efetidants knew or should htL~=e known thcit the use ot' 1lteit•
                            ucts which cttntttinecl lc.ad signitict►ntly increases the ri5k ofcausing catastrophic, lif'e- t{ltering lead
                     puiserning;in children.


                     4t:a1['pertineat titlles, I}eferitltitit 1)oE1ar "I'rLz tras:engaged iai the business cif tnarkc;titia prcitnotin.g ancl.
                     settiiig tlic Pt•odttcts..in the t•e~ulrtr course of bttsittess:


    •                a:At:all       rcitiettt tinres.:Ur 1'rtictttnt DoI.ifirTreeknew.cir.shoulcl have kn<wit tlrttt the ttsc of theit` Proctticts
                     ti>?hi~ch.eon:tauticd lctid ;;i~nificantiy increases the risk oi`causing catastrophic, life• alteri3ît; leact poisc7ning
                     in: eliilcti4tt..



                     b;.Ai:Allpertinsnt i.im;•s..i'laiiltiffs ingested 17efcntlants' I'roclucts. which is              eascitrt;t7ly ioreseettbl:; tise
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                     7.,it.ati pet#inc;nt tiniws, L)elendanls' Products were tulrcasl)ttahlv tt;rnue>•tttts tttatl in a delective c~nditinn
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                     and lca:st of ttbilitti• tci earn tlioney in fhe fitture.l•lie losse; are pernînnent or con€in2ting and 1'laintifl- vlirior
                     C'tiiftl.i+Ci.. will .~uffer the 1osses in ttie tuture..



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       •                        .As..a'1'ut•tltet result, PlaintiCt: VfAR1LY1''7 CiC7t19EZ lias incurrecl the expetisc.oftesting, hospitalization,
                              and inedical anci nursing care aiul ttrnsnt õf lir:r niinUr ch'ild and vill ccintinue to suiïer sucli losses in
                              tlre: f'iiture.

                                      herefcrre, 1'laintift's rrque5t a judgnitnt against I)elenclants joint and severally kcx• conlpensatory
                              and:.i~cirnciniic danatsgcs.toget:herwith interest, costs at'suit. attorneys' fees and such #'urtheriind crtlier relief
                              this Courttieemsjust and apprcrnriate anci denaancis triai h}f j ury ot'all isseies riiiseçl herein.


                               :E'C)T TWCA — V6°Ai1À13AN Fi. I➢3;FE lti t)ATS -:•;•;TII.(CT LIAI31LITY — i)l .F1:CT'I V.I; I:9ESI+CN


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                                  The WaztaBantt Ehfenilhiita were in thc husine.s nf designing. nrizinui'acturing, p:tcksiging.. lalìeling,
                              se11'tng.:Ittci dtstributing the .Produets it1 the re.gt.rlar courst cif husinc.ss.       •




                              3.`i`h Wana135ina [)e..i'crzdants had a dut}' cff.i.reasonatìiu tiìrinuiactlire.r to fUt'esee artcl aiìprec:iate r ist~s C
                              harm assoc.iatec3 tivi.t3i thr: urdintrry tsse• uf €iieir Prc3duc:ts.


                              =1,At all: perticaent tinries. the lV`an<rl3ana 17efertdants knew ut in                exercise of xeasoriablG car4 sltoulcl
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                             • At•..rtll pertinent:ti3zies:.tlic:.Wanat3antt f.)ef~cnciants kn.etv or in the eserr:i:te cif.reastyi2rihle careshc,tild hnrc:
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                              be2iefit; arid that ths :i'roducts ccantain leacl.


                              7.Àt .a:it .1?e.e.tinent t.intes; the 1'ruducts were sutzst<tntiall         in thc same concl"ition as wtren it left the
                              ìOsŠess:iOn of the 1',₹:anaF3ana 13efendants.

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  •                                                     c.



                             8. At.all pertinent tinles. Plairn.ii`f 1..(~;: etsed thc Prodticts lor loocl, whicll tvas a reasonably foresceable and
                             tlortrially intendeci use by tho Wanttl3ana t)efendants, as they gave no wt•trtlings in flppositicun, but..railier
                             prrnlloted ttse ofthe I'roducts l`vt• consuntption by cflildreti aticl tidults aliEce.


                            f).T.izc..Products' defectivc design was a suhstantical cotitribttting f~ctor ol'PlaiYltif'EL.t't.'s lead ii'tsonings.
                             ~1s a result,            sui'fcred bodil inj€trits and resultint p<tiu urtti sufft ring. disrtbil'ity, distigttretitent.
                            nlental a..ti~uish, anil ioss of capacity (`vr tlte et~joynterit•taf lile in the past ,tnd. in the futttre and rill inttt°
                            the expense of hosl~italization. rtiedieai anci ntarsing eare and treatnlent, nle:dtcal tllonitorinb loss of
                            earttings.. .and loss ot' abilityr to earn tncsney in. the frttttre. 7'llc losses are pernrtancnt or• cimtitttiitig attd
                            Pi.nitttit't Ntincir Cliild L.G. wil1 sttffer the losses in"the 'fitture.


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                            and.medii ttl atid nursing careanci tr:~tttnic:ot oi•tt►eit'tilinorcltild aticl will corYtintie lo stttïet sitcll losses in
                            the it.tture.


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                            •t.Att ol`thc a1lcgal~ions ctmt:linect in ttte fotrgoirtg paragraphs at•c inco[pUratc:d atld rea•iticgeci herein.


                           2r1t all: pertirterit tinies, th               anal3tttt:x 1Jetend<3nts had a duty to reasotlablv and prttperl)- design.
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                           warnings.ttittd prcpar.e for ttse ttte Pr<ttlucts. as a. re;asonab3ti° prucient atld carcCul inanttf;ictut
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          :_.      ..— ,- .:....~iatral~atia.l)4f't ndtuits•owed ttiis dutv to I'laintif'Es..                                                                          _ . .._._:


                           3:Lht 'Products whi.cll. cont,tiuc:d lead posed a clettr atici present danger kr all foreserable ec,nsutncr•s,,
                           iacl tr:din.g.4h itd ren a nti. t'1a i nti fis.



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              ptltD-i -OD~463-25 061f3~d20~5 4':U.3:2& PM ..Pg :3Cl.at 38 1'rans. tU:.t_C20251:Tt.?t~38




     .4.A:t all pertirient titncs, tite WanaBana DePendants' einn,antütl supplier, apoii infqnnation ancl beiie.f,
      ilatentiCiritill)' aLlCled tetit1: to: the L.illnt1t11t}ZI tQq:.lFlcJ'f:'tc st: tl.le CIi1r11lil1on'S V1'etg11t-pCt'=uni1 ee{)t117tI1iC ti;altie:
      This. cinnamon vas ttien aclded to• the 1?rclduct5 as part of the Wanal3ana Defenciants nla{lufacturing
      pre.ess..


     •S:At:all pertinent. tirtles, the WanaBans Defenctants knew or in the etercise:of reasÕnlhle. care shotild ltavc.
     knti~vn that .the_ 1'I'odltCts ere.t'i4t prraperly ctesrgtled, nlanuf~ictl3recl, teSted, hi ~pee.teel,. p kaget3, l~tl~efed.
     di~tribErieci, tnarl~eted, exttniitledi solti, supplie:ct; prepare;el tindltar prorided ith,the:prnEler rtnun gs. and
     • 'as tttlrsasonzi?ly Lit;ely io :injure tisers. and ctrlisutllersr izicluclilil;_ Plaintttf 1..(:z.. '1'hc 1~'~'ai11i8rinrl
     Uefenclflilt.S''cE)tlClttct LI'.(~ateCI:1 forL5CeAblC';'Pisk o.f- i11j1.n'}' to PEZt27t1tïs tit1C1 allQfI2S:BlISt0111ers..


     6:The tihTanaE3ana 1;3t•:(enciants breacliecl their dtity b.y-,.atliotit* cather things::


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                                          b. All.o~vingit4 erclttsive stlpplier tt> conta111inatc the cinlianlcin in its 1'resclticts
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                                                                                   d. Failing: to. properly test the Products to deterinine the aciequacy and
                                                                                  effeetive;necs.or,safety rneasures. if any°, prior to release for constnner use:


                                                                                  e. l'ailing to Warn.Pl'iintitt.s that t}ae.Products coiitaint:d lead;


                                                                                  fChc3pt;ing a sttppli+:4' tllttt ititentionally added lead to the praduct to
                                                                                  ini:retise tlie wt•right..ani;i consecJttently, the lraluc: nf tlie cinnantnn;


                                                                                  g. Failing to firopet-lv.test and?or conduct a quallty.cUTllrat a[ tlic Pradllcts to
                                                                                  dete.rniine the increased risk of chilciren tieittg..lead poisoaed ti'onn ncarnial
                                                                                  findl!)t' ItltCtided U5G';



                                                                                  lt. Failing •to aclecJtttltel.y tc~t thc Procltscis tci eltlsure the abse.ncc of leact
                                                                                 eott:tdnaiilation;                                                                  •




                                                                                 i.1='ailing to intortti •tiltin3ate us4rs, ,ticll as 1'laiíitiff's as to the safe and liroper
                                                                                 t:ansciritption i'the't~rcxhlcts;


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                                                                                 havzktó*~n tl-tc, Prexlete.ts were defe;


                       •                                                         k. Failing t instrttct Jhc tiltinzate t►ser. such as I'la.tfTtiffs, as tct the.n"tethods cf
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                              . T"lie WanaF~ctna i?cfentiants wcre .os~I, negligent in that they actecl• reckless sanci in. conscious

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                        Case 2:25-cv-13399                                             Document 1-1                     Filed 07/16/25                     Page 35 of 252 PageID: 43
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                                               disrcgat•ti.ar indiffi:rence: to•the`life,. satetj, Oi`riglits Uf persons exposed to:their Produi ts.


                                               ~: The 1Vanai3ana CtetGnclarits.also conducted iiitetitional niiseondtrct through thtir actions of tcdtiinp
                                               lead-contanlynated cinnaflìeln to its Prodticts. Tllese=Actitins. are• iniputed to tlic •Wana[3ana lUefendants
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                                              c3. Thc.*'4'4ranaBana F~efenciRints' foregt»tr cQnc.lucE:. was:grcrssl}' ttciliìetn.t and in rrrc;ach of i[tcir tiuty tcrr
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                                             will..stttTer: tlre losses.in the. fttture.                                                                                                                    t


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                                     3 In sti° doing, Deferidtttit .DaIlar 1'ree :selected and protiklt:d for sale ta coti5ttniers ttie WanaI3ar
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                                     I)efiendttnts' Products tl'itit ccirttainec4..l~tcI. 'I'he !'roduct's whicla cctntained lead r3nseif a elear ancl
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                                    the eletriruental t;ffet:i:s there,f'r.atii, zspecit►Ily tt'r cli•ildr&n.,   •


                                   R. At all p4,rtirtctai tim~s.. T3i feti~ant:I)ollat Ti:i:e 4:rre~t• or in the cxcrcis4 ofrctasontthlc c~src
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                       disf•il;urenic:nt,.tn4ntal-:alaguisll, anct loss of capzicity frir thc enjcu}'nieilt of life in the past and in thc. future
                       and:i~il1 incur tlic exre;llSL' qt 1)psl)ital3zativil, ilieciical and nui•sitlg care antl treatt7it°nt, tnedical niOnitclriilg
                       loss afectrtlings, and luss ofability to earn moll4y iil tile: futuf'l'., I 11C: lUSSe:i <l7'G 1JCi'3119neIlt or c0!)tlnLting
                       and Plaiiititl`tvlitlor Ghild L.G. will sUífer t11E 145SCs ill,the future.


                       11.1\s a f.urtlier rc;~ult, I'laititi,ff;MAR[.l,'1'N GUi1~1 7 has incurred the expcn5eoftesting.liospitalization,
                       antl.liiedical .and tittt•sittg c:;are:and treatnient clf her nainttr child and will continue to sufi'er.suc.11 (osses .in
                       tCie. future,


                          Wiiet•citot•e. I'laintiffs rcyuest ajudkment against Defenclants Ic>intly <>.iici stverally.fnr colnpensatnry
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                      Wanat:3~,3na Deferncltil3ty n~ecl lhis citt#v ta l'laititii:fs,


                      3.: A;f~tYll.Ixrtlnent.tirne~, the Vb'anat:3ana l)el'enrianis knew or in ihe exercise uI're,atseliahle care shatllci
                      have .ivat~i;+n tluit the. Prexducts irrre ncit laroperlv clesig,tiecl, iliantllacture<t, testeel, lnsnt;eted. p<t~.kag4ci,
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                      WztnaBtUla )4fend3nts Ctlni'tuct cl'e21teCi c'l;• f{lrtSt`_i'aL?lC 1'isle Of ttijlir4 ttl jy lelnitiff's and 'clll cif itS CUstilli7



                   ,4'. The: WklntiBtiill3 DefenclantS lli'ec1f.'lted., tileli• dLlty h1', aillf3tlt.',' etllGl' tliln;;s:

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                                                           a. P'ziiling to ecimplr .vith st;:ae arld federal regulations eunc.c:rning ihe stLrdy.

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                                    .MIL3~L-D.t1;346.3-25 OSiO~l2:..t725 4:U3:2ti r iVl Pj 35 of 38 Trans ID: LClX~0~5171t3~8                                    ......
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                                                             test°ri3g,. cle5igu, ctevelolan>:ent, rrianufacture. inspection, advertisenient.
                                                             triarketin~, Pr.ctn~otion. distribution, andlor sale of t11e: Pl'odUcts;


                                                             b,: Failing to wartt. Plaintiff's of the ltazarcis associat.ecl with t(ti use of the
                                                             Prodticts, inclticling the risk of itzge•sting lead Euid being .leaci poisoned ttlter
                                                             colistunilig. tlie Proclttcts;                                                '


                                                            c. Failing to properiv test t}ie Proclilcts ta deterntine the aclequacy atul
                                             "              c:ftectiveness or.safety tmeasures, if tiuy. priQr to relea.sz ior constlrnet ttss;


                                                            cl. 1'ailing to warn Plrtinti.ffs that ihe Proclncts caittaiiaeci lerid;


                                                            e. Cltctosiilg :a ;uliplier thrit ititcntinnally ;:tcic(t:cl lead to the pruduct to
                                                            itlGt•case •th veight, ant3 cclnsequently. the vallte oïtlle ctnttrirrtoll;


                                                            f.. 1=r~iling to property test andior 4attclttet a quiktity eontrol.nf ttie Prodttets•!G
                                                            dete.rntine tite increased risk czt' cljilclrett la4ing lettd: pctisoneci I`rolzt nnrinal
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                                                            g, Failing t                clt~lutite    test thc l'rociucts io ensure ihe abseace of lead
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                                                            ki: 1'ailing .to infiarnì Ultintate Cisers. suelt E           tai.ntii't's tis. tEi ti7e ,a1 a,ìc1
                                                             irolier c:cinsutaiptican oi'the 1'rociticts;


                                                            i. Failing to ren)ovt Pccicitacts 1i'oin tht• mrU'ke't ol• acltitng proper waenings
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                                                           j: Faiiing to in:struct the ultinìntr..user, sticli its Plaintiffs. as to the metllotis of
                                                            reciticing-tlte type of exl?ostire tn Products ìvhich lecl to an iiicreztscd risk •oF

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                                                                       .k.      arketingand labeling t134 Prrtducts as safw .for all us€:s cltspit€: lcnotivlei`igc
                                                                       to tlae contrar'y andJor lack cif tLsting 10 support tl5cir tnarketing aucl lab.eling.
                                                                       CI21n11s.



                                   5.The Wt3r3at3ana lacfeauiants' foregoittg cncic►et. wtt~ ne:g1ig€:nt and in brc:t►ch aftheir c[itty tcr ('laintiff's;
                                   atid a sitbstanlial contributing,fact€ir.of PIaintiff L,G.°s leacl poisonings..As a rest►lt, I,,C'r. suf(cred hodily
                                   itjjt►ries anci.resullitag gztin:ancl •4tifteritlg, disahil.i.ty, distigt►reznc:nt. mc:ntat anguish, ari€i loss of'c€tf+aci•ty
                                   .for.tlic etijcty'ntent oflifo.:iat thc p4tst ttnd in the }i►ttt.re ancl4vill ittcttr the expetise of'hospital.ization, rtt€;dical
                                   iirid ntusing e:are.7.nd. trcatniettt, inedical nionitoring loss:ole<rrtjings, aatd loss of:ability to c;arn ntoney in
                                   tlie iutttre. The ietsss ai-e.perananetit c,r continuìttg and Flaintif:f' vIinor t''.hil'd L.G. wilf si►ffcr thc lo3se.s
                                   itt.: tlic ftitut'e.


                                  GAs a turiherrest►lt.t'iAitatiCf, Rf.ARTI .I~l!J G(3t~11 l lr<Ys tt7eurrecl thrseK•penseAftestltlghospit;iliuticart;
                                  atact rireelicztl and ttttrsing care't.tntl.treatment ot:tltLir ntitto.r chiid and          sttft:er suc:h kxsses in
                                   tl1:C tUEltre.


                                           Etttef.rtr e., 1'laintiffs ryuestt:,uclgrnent againsi l.')efi.ndartts jointly aiyd severtilly.;for cornpc.t.sattt
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                                  atid      onoraiic €hlanat;es, to~,►eilier'     th.interest,.ccists:csfstti.t. ttttat•neys' tecs and sttwh ft►rtherancl qther reli:ef
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                                  1..All ot_the atle~sttionseantained iry the.foregnifig paragraphs are incorporttted and r.ealleged Itereiti.


;......_._..... ~.:...,..,...Y   - 2,De~e►3dant,,I)olla              5gageci.itz:tltc.ltttsiness.:af selling Lo~v-cost.fobd.produc:ts. '1'h€ ir bttsiness---.....---:
                                  xiio€iel is ticsii*tted to mttxirnize it5 .profrts as a ►'etailer, and the t'rr?ducts are one such exannpli
                                                                                                                                                                     of
                                  Defe►:tclant 1)oliar'i'ree"s k7        yttttlity fuad protJtrctS :tol€1 for a larg&. iinancial rettn n.

                 . ...
                                  3.1nsa tlditig: Ud₹eztclatii•i.)cillr►r Trec selectecl akid pr.o.vid4rJ for sale to cons€►niers                                           ....... ..
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       ........ ... ..                                 7v11D-L-043<!~3-~5't :06l0                           t725•~1:Q3.:26 f'M Pg 37 c►s 38 TtaCts tCl:: L;C()2a:171 2t33o"

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                                           proeliict.s that:containc.d lead.


                                           4:~kt al:l.               tinerit turieÑ, L}eferEdant Dollar'1'ree h€td a dUtV of a re<tsonably prudettt and carefitl selt4r of
                                          the Pi•odttcts to take precauticins anci apprecittte risks oI' Itarnj ttssociateli                                   ith the ordinary ttse of the
                                          f'roducts, in light ePthe rislcs assoc.iated.:evith the 1'roduc.ts and leacl int~estion.


                                                      a;16 peri.inc;nt titrtes.. •I:)ef'enc,ant 17t3ttitr'l'reL ha;i. a clttty to exercice reast,nrtble care to eonsuttact';;.
                                          inc.tudin~ to .I'iaintiffs.. to properly prc'>niotc. tnarkei; distribnte, atici sell ttje. f'rociucts.


                                          6.At all Laertin4nt tinies, I]efenda:nt I)ollttr Tiee owecl a ciuty oi cfuc care, to consUn7ers. itlelUditlg
                                          Nlaintiff,s, asa Forese.tai3le user of tiie 1'rodncts, that it «°ttuld be reas.onabIy saff for all ititencleci ttsc~>s and
                                          free f'ro.ni'de.fect5.


                                          7.~i.:nil'Pertiiierit tittiess,,C)e#ìndant Iaolla~ `I.ret?. kne~~ Wr slu.xalcl ìittve                lieexercise ol'reastrnahle;
                                                    tha.i:trse Õf tliv.l~rc~tiutt4_w.hich cotztainecl leaci igitiificatjtiv incrc:etses ttte.risk of Icad.Isoise?ning at3d
                                         tlse cietrinierttat eftcets: tlt.er.efrqt.tt. eSf?allv to z:hilCiren.


                                         8.A( all: pCrtlnc'.t1t t3llies, DE;fCnClant Dollat' TreL I{il                                or in the exercise ofTcasonc"tllll: car4 sIloltlCl lk3ve
                                         lcnoskn tb.tt the Wat►al3ana [:letatadatits were twt proviciingwttrnings tG the cisnsusners of tlte #''rnclttcta'
                                         eUi~4erning tltc risk.<,f.lead ingestiort:and pc}isontnL; a,ssociated with thc; proilucts:Tfttts. Defendant [)ollar
                                         Tree hztcl:iz chity to                         rrt . its itwturner:s. ii~clueli.ng d'liintit:fs. eif tt known atxd f~resecable risk.


                                         9..Defentlatnt I"1òllr~r."I`reL breached its'dtttt=tn }'luintii?fs bt' tililicag to inc:turic< intìorttiati©n in re.latican tti'the
                                         increasecl.risk ol'1c.ac1 irtgestion'riiicl leaci'pbisoilinL caused l~y the Proclttcts.

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                                          EO.fendant Dollar:t'ree's ttegl:igenca was a substantittl contributing` rtctot' of I'laintil'i'I,.ti.'s letati
                      _.,-. r               n;tsoning.:..As_a .restilt,.L.G.._sttffcred. Goctily injarleS <tncl rc:sulting.-pain and..staffering. -d'tsabilitv,
                                         disfigut-enic;nt; rnenttil.artgttisIi, <tnd toss af capacity for th enj.oymwtit e('life i n the past anci in tlte fitturc.
                                         And.~v.'tlf itic,urthe exlsensc of hoslritalizution. tnedical and nursing care and treatn}ent. niedi.cal nzo»itoritig
                                         loss pf eai•niatgs, rtnd loss c,f al7ilit}- io earn ►ricmeý ita tlie ftttttre.. Tiii losses art pzrnlanznt or continuing
.._ ............ .... ..                                                          .                                  ..                 ,
                                         aricf;Plaiiitift'\tinot Glaild L,:{:i: iirill sttftcr the losse; in the fitture.

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    - - . ._..,..a... _ ......,.>........M..~,.._ . .._.. _... ~....._... ._..__. .. ..   ............._.._....._...----._ . . _ ... ~ .. _. . _ ~.._. ... .~... ...~.
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                                  I.1As a ttir.fliet` reut, llairiti!'t,11:1ARIi..'YYN.CiC13~I. has inctirred the espetiseoftesting. Eiosliitaliz atiutt,
                                  attc#..tnecl.'t.cai attd: nursi.tig cYtre azfitl treatment of hcr~anitiar cliiltl artcl 'xill c:ot3tinue to. sttffer stich iosses in
                                 the future.                   ,


                                      1?Ylteref[tre, k'latntifi=s reqtiest n juelgrncnt against Defendants •jointly and severally tor ccmipensatoy
                                 nnc(.c.c~cnotnic.clttrnages. togetheraui#[t itiietcst,.eošts nt:sGtit, ittorrtey's' tec $ anrl such fttrth4.r aitcl:nthet retiei'
                                 thisCourt.deenis jtist'<ind 1pPropriateaiid detnttncts:trial b}' jur}= of'all issttes:.raisect. Eiereiti.


                                             C(l:bl~f'I' SEVP~1"d — DE)Ll:aktl.,                    ,~:,l~)~~'ENllA}tii`i' -S7"ttiC'T'31~q..11C i~ I.:;iAiilLl TY


"                                 3.A1Fpf the:allegaticyiis•ct~tl.taitiecl iit tlie fort;eiing tiaragianhs are incnrpoi~ttted and.realleged herein:


           ~..        .
                                 2. DcTeitdant.l3crlltr Tree tt zill tinies pertitjent,'etlgageCl tz}:tltt'bc13tiS5 (it'.se1liti rutil ctistributing the
                                 i'iriclnetsto..ct7tistttiis ttatictnicie< incltxlint;in [he 5tates of I'te Jersey ttnd`NeW ,Yor~l anc! licidl,.c.t►;
                                 C'uiiiity: nntl l;tatezt' lalat)tl C'atutty:


                                 i.. l)efenttant LJtfllar "1'ree, upøn iii:fo.rtlaatiott iittci belsef ,did and cctntiaattes to 4e°sulis-titntial revariue
                                 in Le                                         ts 1teatx:ofNett{.'i`ork lòr $he:salc oi'Wana                                        t.~el~n.cltints' t'ruit.'1'i.tree
                                 puches.:it3eluding ihe PrUdu%tš at is4ue;lter.~


                                 4.. At. al.l Pr;rtit}cn€ ttines. •tEic. l?roducts .vert± .def~ctii;c at .th¢ tinie ot:.tial~; to the tiltirnatt                                              m.eta::li.ke:.
                                 PlaintifFss as t:1Ze Produets.ttere ≥:tnrettsnllttbl,' flRS)geiotts Clite tKi iltc.ir inelusic}n o.F leatl.


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                                 pnisoning. 5 a result exrec°ds a r.easciabie cranSiit7ier expcctKitians rti°lien tistci: by.chitctren as food wrnd is
     -:—n -:~ ~T                 ife3ectitti: in desi;~n becaetse the;riske~t lead exposure si~tyzticantl} outweighs any pot~nt'sa1 berleft"


                                 fi.The. Prøducts arc defective t1s, the packaging failed to include; an adc:quate trat ritnc'reearding the ri;;l: c7C
                                 le.act exposurc. Upot3.itit'ornniitic~n and bt;lie€,:DePetidant Dollar Tree aci~~ertised and cntits.tntes ta stll tiie
    ... ..........           . ...... .. .. .
                                 l'rudttcts, dtspla};ittg t(ie. ix•itit T'ut•ée pouches' p:at<ka}ting tivhich Ixtrports to be ".just ti'uit" rvith no

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                    adcliCives, De,.fe.ndatt.t Da'llar Tr4e's w+rbsite offers no warnings oi ...~Štails rtš to the iotentitll har.m
                    assoeialed witti irtsesting leacf-containing fruit l'rtrie pouches.                          '


                    7. .Defericictnt I)ollar trt e E:ne        oc .shotilcl have kno',vn thrtt thc presetacz of lead in ttie l'roducts
                    sigtiificrtntly iiiereases tite risk of leacl ingestion and lettd poisctning basecl tipoia extensi.vc: scientific
                    kr7o1~1dge cizrting_back to: the 1'974s:
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                    f3.At all times pertinent. t13e 1'rc,ducts vLre etpecte,cl toand eliti reach the" cotsttnitrs, inclttdin,= l'laintif~:ts.
                    w.tt[io.u.t, .substantia) :ch.ari~e fi'oni the. coridition ln which they were stsld. 7.`he.corxlition in which the
                    I'rndut;ts reach l'laintiffs was on th?t t'laintit'fs d.id not cnntLnrplate, in that thev diel not expect that the
                    use öfthe Praclucts wor.aid resttlt: irt lettciexpersure uncl lead poison it3g: Thtts,. the Proclucts faileti Plairttiff:s.
                    txpeetations as ecjnsttn'terS.



                    9,Dc;fentlrzr.tt Drillrr Tree's act;s und unli5sians, ris ttilegt~.ci Izcrcit,, rv~ere a stl6stant'tal coritrihtrtittg factor
                   eaf"#'laintiff L.Ci.'s. leacl laoisonings As a resutt, L.G. utf:er.cd bc+clily injttries and resulting .paii7 atid
                   sufet ig,clisafilty; tlistgurattiert, ztietztal anguislt anel loss af eapacity for t'tte enje►y'tnent of litca ittthe
                   ;Rast and iathe future rrncl will incur the e;:perise cifhospitaliirtbiori, mwckcal ane3.nt_irsittg crtt'c at3ci treatrue►'tt.
                   rmcclical nionitcrriug loss c>t' eitrtiirtgs, uAd lo;≥s of fibIlit.y to earri mone4 in tlie ftrtttre. 'Che losses are:
                   }tetttvuzent or er7ntintiing ctiid l'laintitf l~iinur f':h'rld 1.,.(i..t~•ili stiftu the tusae., in tht: l~utttre.


                   Y0 As~tt'1ltcthLr rc:sult, l'lairitift: Itr1,Ak1.1.,1.'I1 ClC.)lv11»Z ha; inctirreci ti3e expeftseottesiing, hc3spitalizaiicata,
                   and rrtecli4n'1 atnd tzutsiz.g ea:e and recattizerLt ra:1'her zninur ehilc! ancl will t:c>sttinue to suffer stiah l(7sses Fii
                   the' l`irture;                                                                                                                     .


                       W)ilerefore, I}larntrtls reclues-t 1 tidgnzerit.agatnst Defettdants jctint ttnd seeral!) fur
                   ztndecunozuic dflrltages, tuther witli interest. costs ofsuit. atturneys' (ees anci such fut•thc.rand ather r~li+rf
_.,T._   ___~-T --.t1;is;.Ge3trt demsjust.and apprc,prititc:;it.txi dcinands;trial b ,jut'} cif all isstrt:s r•aised herein.


                       C:+C)LIi4"I' C~1€;II'.t'-.--Dt?LLAR TRI I"s 1)~'(i'EN1?A1ti.T—.I3ILF.,Atr:i-I OF 1XPR1'S'i 4YAiZltAi~TV


                   "1:.:A1:[.ofthe allegatioiis cuittained in-the foregoing ptiragraphs are incczrporated and.re.alleged herLin.

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     ......~...............,.y......_,. _   .           ._...._.._:_.::... ..   ..                                                 . _
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                                                    c                                    ,                           Ç




                            .2. T7efetiiiant Dollar Tree e;;pressly svarranted. through direct-to-cnnsumer taìarkcting, social ntectia.~
                            a.dvertising; liackagina and latieling,.tlaat the t'roducts were safe and cfteciive fo.r all reasnn:tfily anticil3ated
                             u:5es~ iitclucfing far initestian by chilclren. Islctinti(t' I_.C?. avas a persnn tvhpnl the 1)callar Tree I)efenclant
                            tiuoultl reaso:nably have expectecl to tis4, constulle, itttdior be affected Uy ihc I'rocfucts rtnd w►io. did use and
                             GO115LIITiC it.


                            3. t'3latntifts :iFiki" tht'.se i1dvGrtlst.'.nlents'flnCt I7cickitging, lllcltidttlg .lt a retail ,lClciitil~)tl G1wned tlnd operated
                             by DLF€tlClant [7LYtlai' TI•t'e. and llelieveCl tlle }'rUdticts l4't;t'E safe and ('t'f4ctiE't; ti~r I..C'r. to consurne.
                            leading_thetn to rcly on the 1'roctucts`advertisentents and packaging.


                            4..1'la,itttif!'s are In Ixrivtt4' with I)efencl~nt l.)olltrr `t'Yee because it direc:tly sctld the Pro.dttct; to Plaititifts.


..   ..            .      .:~. '('he 1?rocfuct• are :;oot alrt4d by- IJ.C;.C. §.2-105 asicl l)efrnciant f:7ollar Tree kui                    t.}r hacl rcasw,Jr tu   •



                            knaw,o;f the spec:iftc usa-tbrwItich the Prciducts, as ooti, ari: Iaurchat:ed.


                            G. `I'he f'rcfducts wire-defect.ive becititse it dici .net canforiia tta thcse e.tpresti representationti as well as
                            ~iew;iet5ey <Ind, i\(e«_ `,'or.k cunititnti ladi'.. hecau5e t[re.i'rcrducts were ut7satc:tor ihc reasc>iiabty foreseeable
                            tlse ritYd consunìptien ctt` I...t:;. tl.ue •to thc iiltreascd• risk ol• letid ingesi;iiti atftf lvacl puisaning wheii
                            consiittit:d.


                            ?.As detail~d tiheve, Dct'.etida'ilt ll0llar Tt'e.e, t[lrnugll tile written Iiaekag►q;, labtlitl~., tii]d advertiìing
                            t`elttretlthe'F'eudttt;ts t:sptessly 'vttrratitccl tl'tat its I'rodacts were saie anti fit t`ot' thc pttrFost;s incclltled,
                            that tlhe.y wGre mc:rch<ttYtbIe qualitr.-• that they rve:re he.althv anci safe to.r htinian ceiìst.tnìption, astd that
                            th~y'•.did nf.7t.p(7sE Ctangel'Otis llea}Lh risks.       •




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                            D.oilarT.r.ec:. incltttlint; t}tat the f'roclucts cUnt iUtled i2tlll' C:lnnan3011 iti1C1 apples. nQ's1Ild4C1 sugar. tao ghtten,
                            t10 BPAS:, :itnCl no [7rC:st.l:l='rtt'.I!'e?i.:Pliiint.ifït)e~tk".ved: based on the. I)e[encfttnt f:).oIlar Tree's .representatiUns.
                            that the..P.rodttcts were safe°and he<tlth tizr her Mittcir C:ilikl L.G..



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                       9. l)efendant I)ollai' Tree.breacllcci its express warranties becattse the Prtxlttuts tverti tiot reasc?nably sat:~e
                       f©rtlieir ordinary ancl intended purpose of providing t'IaintifT ancl consunlers with saFe and heatth t'aod.
                       ('otT tlaeir cliildren. Inste,tel, the Proclticts cotliatn.4d lcad,wliich is liarmfttl to chilclr4n €tnci adufts, tlot fit foi•
                       huniati:cirnsunit;tion.:and 'ttot confbrming to the Products' packagirzg.                            o


                       1 t1 1Jt fe~)daazt.Dnllat' Trc breaclu.d its t;slzre.ss warrftnties by sctiiitg Products that contrtin lead.


                       11,"I.̀l)e kii•esenc:e.ctl'letid rendered.the Proditc:Csuttfit for their:intencled ttse anci purposc Ftnd substantiiilly}
                       trnpaired ihe tisc: ttnd .valtte,qf tlie:.i'ro.clttcts.


                       1:2:De:fentiazlt I.)otlar 7 ree as on rlcit'tcc nf tilis hrcacla. as it ì        aware or sliottld 11ave been awaret c.7f tlre
                       inclusiõn of lead in the: I'rcduets.


                       1:3.-Delc3tcltint I)ollar't`ra.E     ;tctiorls, tts cottiplaltic:cl c)l'llereitl. brc;ac{led.tlle warratlties thnt the I'roclucts.
                       were of tilcrchant~tble qttali:ty tind t"it.t'cfr such:ttse>


                       l~ Del.ttrcianf     oll.t'Tree t intended benefrciatle5'ot.tticse t:tiprc.ss svarranties svere ultinlately cclnsitn3ers
                       sucll.as Plaintiffs= npt tltird-p~ixty ceiztilers, eswliers, or elistrii?iliors wltc) sctliJ tlle 1'roelttcts. iÍnreo~er,. tlle
                           llar.`il"ret . i.lcifcne3itilt e:t>v"reises substatttiai etmtrai over wlticll rclail Ioeiztiuns~ean carry ttncl sell :tfxe
                       Proditcts,     llieh. are the;sttnle.otttiitstliat Pkainti#'fs-pu.rchaseci tllc Yroctucts. 'Iu additiuna tilc: L)cìllar Tree
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                       wli« ptirchage ttte•I:'tbciuets iia' k:ttlk and thetl sell ilern :v:n tttl individual basis to consttniers: lndsvidual
                      con ttttners: nre flie: ti.ne       ltn ultiiltatey iiuiet' the •1duct labels prior to nlaking an} ItLtrcllasing
                      clicisions.: Acccxrdingl)r, these svarra:ntics are specitieall1''clesigned to bene.fit the inclirtidual consuttters
                      vt~i3o gitr~t~ased:tlze: l?t-odttri


~~_,. ..:...,--...,4.....: ]<S...L7eEendatli.[7ollar.-Tree's.hret7ch,of e~:press-t~ttrtat:tty t~:~s-asulast ttntial ContTl~litin~
                                                                                                                                    factor of Platnt.t~ .. ,.. .....°
                      L..G.'~ lead pczisohinazs. As a t=esitlt, l..G: sCiftered boclily injuries and resultiilg pain attd suftering.
                      tlisttbrtit}', clistigut`4ulcmt.:nietltal:apgttish. and loss a.f capacity for the enjõ5'nleiit ril' lif4 irr the p<tst and
                       rn the. &itttte and tivilt iuct,r the expense oC ktcispitalizatiotl. inedical attii tiursing care and treatment,
                      nlec[ical ttioi7itc,ririg ioss of earnings, and loas ol abititv to earn tnoney in tIle fttture. 'I'he lusses are.

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                                 Q. T:he Wanat3auia Dcfetulants we.re.on notice of this breach, as tliey.Ker.c atuarc ar shqtild have becn
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                                i\4oreover, the WanaBana Uefendants.exercise. substantial control over which,outlets can curry ttnd sell
                                theYr: Prodiiets, t<;fii~h, are .the sa►ne outldts"that. Piaintiffs pureltased' thc Products. [n addition, the
                                WanaB.na Defenitants" tvarranti.es acc jn no•wtiy dcsibned to apply.to°,third-part}: irtailers, reseellers. or•
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                                      medicaT and nursing care ctf her Minor Cliild attd will continue io suffer:such losses in the tuture.


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                                     2: In the course or•busitiess. th~~' W`itiial3tut.a i7hfendants design.d, tnanitfaeFurcd at•td sold thc Productsr
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                                                                           ÑCT,1.ItV RF.•A C+AHALA & P[L:PER;. P:A.
                                                                          Attoriiev for Plaintiff(s)
                                                                          By: Patri.ck f. C'.flt►alktt~e.Esq:
                                                                                                              .

                                                       JURY DGMANU
                        Pursuant to Rutc.1:8=2(h). plaintit7's her~b}zteiriä         l~ttt'the•isst~vs her~in be tried.by a
               juty ~af six (6)•persons.


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                                                                         Atorneytr._;                     s)         \.
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            Case 2:25-cv-13399                    Document 1-1                Filed 07/16/25               Page 58 of 252 PageID: 66

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                                            Civil Cas:e                      orrr'ation Staterr~ert
                     Case;Qeta[Is: t4IÌlDDLESEX [ G{vii Part t]ocket# L-i303,463-25

                   :Ca&a Caption; GONZALEZ'LESANDRA VS WANABANA                       Case Type: PERSONAL INJURY
                    LLC                                                                Document•Type:.Compiaint.with.Jury Demand
                    c.ase lnttiation. Date: 06TQ9/2fl25                               Jury Demand: YES - 6 JURORS
                    Attomey Neme: PATRICK }i:CAFIALANE                                Is this a professiona) matpractice case? NO
                    Eirm Name: aNGLIN:REA & CAHALANE,. PA             .               Related cases pendirig: NO
                    Adiiress:.1fJ05.EASTPARK BOULEVARD                                If yes, list docket.numbers:
                   :CRAAtBURY NJ {)8512                                               Do you anticipate adding any parties (arising out of same
                    P.hane.6E)94090d44                                                transaction or:occurrence)? NO
                   .fitame of.Party: PLAfNTiFF : GONZALE~, LESANDRA                   Does this case invoive ciaims related to G47VID-1@? R!O
                    Alame ofDafendant'e:Primary Insurance Company
                   .{'rfknown): Unkrtown                            •                 Aro sexual abuse clainls aileged by: LESANDRA GObIZALEZ2 A1O


                                                                                      Are sexual abuse claims alleged by:.MARILYAt GQt3ZALEZ? NC►


                                              ,                                       Are, sexual.abuse ciaims. alleged by:144ARILYrd GORIZALEZ? NO
                                             d



                      .                R~ATiot PROVII3E)l ON ?'HiIS F®RN!_CA(}T 'KJŠ.tl?1TR4I3iJCiuf3 IN'Ft3 EVIDLNCE
                                          CASE CHAftACTEftlS71C8FORPi7RROSESOF oETEfiMtNITFGtFCASEISAPPROPriIATE FBRiAED17+T10F3



                    Do parties have a current, past, or recurrent relationship? NO
                    tf Yes, ihat relationship:
                    Does the statute gauerrling this case provide far:pa.yn1ent of fees by the tosing party? NO
                    tfse this space ta.alert the court to any special case eharacter'rstics that rnay warrant indiviUat
                    rrsanagernent or acceterated disposition:..


                    Doyba;#r your clienf need ariy disaliility. accommodations? NO
                          Tf yes;. piease identffy.the requested accomrnodationi •


--.._:........ .--•—ttl:an interpreter be needed? N0 __.._....._... .., __...                                         ......
                            If yes, for what:ianguage:.

                    Piease citeck off each appticaisie category. Putati'ue Ctass Action? NE? Titte.59? NO Constimer Fraud? NO
                   iSiietiical Debt Claim? NO



                   t.ce     that confi.dentiat°persona[ identifters have been redacted from dacuinents noiiv submitted to:the
                   pautk,. and wi11 be:redacted from aIldocurnents submitted:in the fL;ture. in accor.dance. ith Rule 1_38-7(b):
Case 2:25-cv-13399      Document 1-1          Filed 07/16/25        Page 59 of 252 PageID: 67

             M1J-1.-O033-2   O6/0912025 4:t}3:26 F+f1Â Pçj 2 of -2 Tcans iC3-° LCV2025 i 712835
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     08/091202s                                                           /s/ PATRICK H CAHALANE
     Dated                                                                                    Signed
   Case 2:25-cv-13399        Document 1-1        Filed 07/16/25         Page 60 of 252 PageID: 68

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P. C) •BOX 2633
56 :PATEbfSON STREET
NEW :B32UD7SWICK      NcT 08SQ3-2633
                            •                     TRACK ASSIGNMENT NOfiICE
QOURT T      PHOINE .NO. ('T32j 645-4300
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                                DATE:.     JUNE.09, 2025
                                 RE:       GONZALEZ LESAt~DRA      VS 4Thl.VAHANA LLC
                                DOCKET: MID L -003463 25
      THE ABOVE CASE HA.S• BEEN ASSIQED R'O:      TRACK 2.
        •DISGOVEI2Y IS    300 DAYS :Al+]D RUNS FROM THE FIRST ANSL47ER •OR 90 DAYS
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     THE PRETRTAL ,7UDGE ASSIG"PED IS: HON JOSEPH REA
       IF 1't)U RAVE• AN3i QCTESTIONS; CONTACT TEAM        004
AT: (732) 645=4300. EXT 88905.

      'IE' YOU BLrLIEVE 'THAT TEiE TRACK IS• INAPPRdPRIATE YOU MU3T FILE A
 CERTIEICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PI.EADING.
      •PLAYNTIFF Mt7ST SERVE. COPI.ES OE' THIS FORM ON ALL OTHER FARTIES IN ACCORDANCE
WITH R. 4;c 5A-2 .
   •                            ATTE3.3TIO1+T:; '
                                                  ATT: PATRICK H. CPiHPiI,ANE
                                                  ANGLIN REA & CAFIALF.NE , PA
                                                  1005 EASTPARK BOU7~EV1}.RD
                                                  CRANBURY          BIJ 08512
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Case 2:25-cv-13399                  Document 1-1                 Filed 07/16/25            Page 61 of 252 PageID: 69


                   NJ SUPERIOR COURT LAWYER REFERRAL AND LEGAL SERVICE LIST



ATLANTIC COUNTY:                   ESSEX COUNTY:                        MONMOUTH COUNTY:                 SUSSEX COUNTY:
Dep uty CI erk, Sup erior Co urt   Deputy Clerk, Superior Co urt        Deputy Clerk, Sup erior Co urt   Deputy Clerk, Superior
Civil Division, Direct Filing      Civil CustomerService                CourtHouse                       Court
1201 Bacharach Blvd.,1stFl.        Hall ofRecords, Room 201             P. O. Box 1269                   Sussex County Judicial
Atlantic City, NJ 08401            465 Dr. Martin Luther King Jr        Freehold, NJ 07728-1269          Center
LAWYER REFERRAL                    Blvd.                                LAWYER REFERRAL                  43-47High Street
(609) 345-3444                     Newark, NJ 07102                     (732)431-5544                    Newton,NJ 07860
LEGAL SERVICES                     LAWYER REFERRAL                      LEGAL SERVICES                   LAWYER REFERRAL
(609) 348-4200                     (973) 622-6204                       (732)866-0020                    (973) 267-5882
                                   LEGAL SERVICES                                                        LEGAL SERVICES
                                   (973) 624-4500                                                        (973)383-7400

BERGEN COUNTY:                     GLOUCESTER COUNTY:                   MORRIS COUNTY:                   UNION COUNTY:
Deputy Clerk, Superior Court       Dep uty CI erk, Superior Co urt      Morris CountyCourthouse          Deputy Clerk, Superior
Civil Division, Room 115           Civil Case Management Office,        Civil Division                   Court
Justice Center,10 Main St.         Attn : I n take, First FI., Co urt   W ash ington & Co urt Streets    1st Floor,Court House
Hackensack, NJ 07601               House                                P. O. Box 910                    2 Broad Street
LAWYER REFERRAL                    1 North Broad Street                 Morristown, NJ 07963-0910        Elizabeth, NJ 07207-
(201)488-0044                      Woodbury, NJ 08096                   LAWYER REFERRAL                  6073
LEGAL SERVICES                     LAWYER REFERRAL                      (973) 267-5882                   LAWYER REFERRAL
(201) 487-2166                     (856) 848-4589                       LEGAL SERVICES                   (908)353-4715
                                   LEGAL SERVICES                       (973) 285-6911                   LEGAL SERVICES
                                   (856) 848-5360                                                        (908) 354-4340

BURLINGTON COUNTY:                 HUDSON COUNTY:                       OCEAN COUNTY:                    WARREN COUNTY:
Deputy Clerk, Superior Court       Deputy Clerk, Sup erior Court        Deputy Clerk, Superior Court     Deputy Clerk, Superior
Central Processing Office          Civil Records Dept.                  Court House, Room 121            Court
Attn: Judicial Intake              Bren n an Co urt Ho use,1st Floor    118 W ash ington Street          Civil Division, Court
First Fl., Courts Facility         583 NewarkAvenue                     P.O. Box 2191                    House
49 RancocasRoad                    Jersey City, NJ 07306                Toms River, NJ 08754-2191        413 Seco n d Street
Mt. Holly,NJ 08060                 LAWYER REFERRAL                      LAWYER REFERRAL                  Belvidere, NJ 07823-
LAWYER REFERRAL                    (201)798-2727                        (732)240-3666                    1500
(609)261-4862                      LEGAL SERVICES                       LEGAL SERVICES                   LAWYER REFERRAL
LEGAL SERVICES                     (201)792-6363                        (732)341-2727                    (908)859-4300
(609) 261-1088                                                                                           LEGAL SERVICES
                                                                                                         (908)475-2010
CAMDEN COUNTY:                     HUNTERDON COUNTY:                    PASSAIC COUNTY:
Deputy Clerk, SuperiorCourt        Dep uty CI erk, Sup erior Co urt     Deputy Clerk, Superior Court
Civil Processing Office            Civil Division                       Civil Division- Court House
Hall ofJustice                     65 Park Aven ue                      77 Hamilton Street
15t Fl, Suite 150                  Flemington, NJ 08822                 Paterson, NJ 07505
101 South 5th Street               LAWYER REFERRAL                      LAWYER REFERRAL
Camden, NJ 08103                   (908) 236-6109                       (973) 278-9223
LAWYER REFERRAL                    LEGAL SERVICES                       LEGAL SERVICES
(856)482-0618                      (908) 782-7979                       (973)523-2900
LEGAL SERVICES
(856) 964-2010

CAPE MAYCOUNTY:                    MERCERCOUNTY:                        SALEM COUNTY:
Deputy Clerk, Sup erior Co urt     Deputy Clerk, Superior Court         Deputy Clerk, Superior Court
9 N. Main Street                   Local Filing Office, Courthouse      Attn : Civil Case Management
Cape May Court House, NJ           175 S. Broad Street                  Office
08210                              P. O. Box 8068                       92 MarketStreet
LAWYER REFERRAL                    Trenton, NJ 08650                    Salem, NJ,08079
(609)463-0313                      LAWYER REFERRAL                      LAWYER REFERRAL
LEGAL SERVICES                     (609) 585-6200         -             (856) 935-5629
(609)465-3001                      LEGAL SERVICES                       LEGAL SERVICES
                                   (609) 695-6249                       (856) 691-0494

CUMBERLAND COUNTY:                 MIDDLESDCCOUNTY:                     SOMERSET COUNTY:
Deputy CI erk, Sup erior Co urt    Dep uty Clerk, Superior Co urt       Deputy.Clerk, Superior Court
Civil Case ManagementOffice        MiddlesexVicinage                    Civil DivisiorrOffice'
60 West Broad Street               Second Floor, Tower                  40 North BridgeStreet
P. O. Box 10                       56 Paterson Street                   P. O. Box 3000
Bridgeton, NJ 08302                P. O. Box 2633                       Somerville, NJ 08876
LAWYER REFERRAL                    New Brunswick, NJ 08903-2633         LAWYER REFERRAL
(856)696-5550                      LAWYER REFERRAL                      (908) 685-2323
LEGAL SERVICES                     (732)828-0053                        LEGAL SERVICES
(856)691-0494                      LEGAL SERVICES                       (908) 231-0840
                                   (732) 249-7600
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                        Exhibit 2
   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 1 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 3 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 4 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 5 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 6 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 45 of 54 Trans ID: LCV20251851046
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                         Exhibit 3
Case
   Case:
     2:25-cv-13399
         1:24-cv-02196
                     Document
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                                                                                            State Corporation Commission
                                                                                            Office of the Clerk
                                                                                            Entity ID: 06905996
                                                                                            Filing Number: 2303305682796
                                                                                            Filing Date/Time: 03/30/2023 03:45 PM
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Stock Corporation - Annual Report


Entity Information
Entity Name:       DOLLAR TREE, INC.                               Entity Type: Stock Corporation
Entity ID:         06905996                                    Formation Date: 02/22/2008
Jurisdiction:      VA
Status:            Active
Total Shares:      610000000

Registered Agent Information
                                                                                BUSINESS ENTITY THAT IS
RA Type:           Entity                                     RA Qualification: AUTHORIZED TO TRANSACT
                                                                                BUSINESS IN VIRGINIA
                   CORPORATION SERVICE                        Registered Office 100 Shockoe Slip Fl 2, Richmond, VA,
Name:
                   COMPANY                                            Address: 23219 - 4100, USA
Locality:          RICHMOND CITY

Principal Office Address
Address: 500 VOLVO PKWY, CHESAPEAKE, VA, 23320 - 0000, USA

Principal Information
   No Officers: If the corporation does not have officers because an organizational meeting has not been held.
    No Directors: If the corporation does not have directors because (i) initial directors were not named in the articles of
incorporation and an organizational meeting of the corporation has not been held or (ii) the board of directors has been
eliminated by a written agreement signed by all of the shareholders, or by the adoption of provision in the articles of
incorporation or bylaws that was approved by all of the shareholders.
Title                          Director                       Name                           Address
                                                                                             500 VOLVO PKWY,
Chief Executive Officer        Yes                            RICK DREILING                  CHESAPEAKE, VA, 23320 -
                                                                                             0000, USA
                                                                                             500 VOLVO PKWY,
Chief Information Officer      No                             BOBBY AFLATOONI                CHESAPEAKE, VA, 23320 -
                                                                                             0000, USA
                                                                                             500 VOLVO PKWY,
Chief Operating Officer        No                             MICHAEL CREEDON, JR.           CHESAPEAKE, VA, 23320 -
                                                                                             0000, USA
                                                                                             500 VOLVO PKWY,
Chief Financial Officer,
                               No                             JEFFREY A. DAVIS               CHESAPEAKE, VA, 23320 -
Manager
                                                                                             0000, USA
                                                                                             500 VOLVO PKWY,
Chief Human Resources
                               No                             JENNIFER HULETT                CHESAPEAKE, VA, 23320 -
Officer
                                                                                             0000, USA
                                                                                             500 VOLVO PKWY,
Chief Merchandising Officer
                            No                                RICHARD MCNEELY                CHESAPEAKE, VA, 23320 -
- Dollar Tree
                                                                                             0000, USA
Interim Chief Legal Officer,                                                                 500 VOLVO PKWY,
General Counsel and            No                             JOHN S. MITCHELL, JR.          CHESAPEAKE, VA, 23320 -
Corporate Secretary                                                                          0000, USA
                                                                                             500 VOLVO PKWY,
Chief Supply Chain Officer     No                             JOHN FLANIGAN                  CHESAPEAKE, VA, 23320 -
                                                                                             0000, USA
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Title                       Director           Name                 Address
Chief Legal Officer, General                                        500 VOLVO PKWY,
Counsel, Corporate           No                JANET DHILLON        CHESAPEAKE, VA, 23320 -
Secretary                                                           0000, USA
                                                                    500 VOLVO PKWY,
Senior Vice President, Chief
                             No                JENNIFER SILBERMAN   CHESAPEAKE, VA, 23320 -
Sustainability Officer
                                                                    0000, USA
                                                                    500 VOLVO PKWY,
Senior Vice President, Chief
                             No                KRISTIN TETREAULT    CHESAPEAKE, VA, 23320 -
Communications Officer
                                                                    0000, USA
                                                                    500 VOLVO PKWY,
Assistant Secretary         No                 DEREK REDMOND        CHESAPEAKE, VA, 23320 -
                                                                    0000, USA
                                                                    500 VOLVO PKWY,
Senior Vice President, Chief
                             No                PEDRO VOYER          CHESAPEAKE, VA, 23320 -
Development Officer
                                                                    0000, USA

Signature Information
Date Signed: 03/30/2023

Printed Name                           Signature                    Title
DEREK REDMOND                          DEREK REDMOND                Assistant Secretary
Case
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                                                            Commonwealth PageID:
                                                                               #:100133
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                                                                                            State Corporation Commission
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                                                                                            Entity ID: 02938496
                                                                                            Filing Number: 2309296350667
                                                                                            Filing Date/Time: 09/29/2023 10:08 AM
                                                                                            Effective Date/Time: 09/29/2023 10:08 AM




Stock Corporation - Annual Report


Entity Information
Entity Name:       DOLLAR TREE STORES, INC.                        Entity Type: Stock Corporation
Entity ID:         02938496                                    Formation Date: 10/15/1986
Jurisdiction:      Virginia
Status:            Active
Total Shares:      5000

Registered Agent Information
                                                                                BUSINESS ENTITY THAT IS
RA Type:           Entity                                     RA Qualification: AUTHORIZED TO TRANSACT
                                                                                BUSINESS IN VIRGINIA
                   CORPORATION SERVICE                        Registered Office 100 Shockoe Slip Fl 2, Richmond, VA,
Name:
                   COMPANY                                            Address: 23219 - 4100, USA
Locality:          RICHMOND CITY

Principal Office Address
Address: 500 VOLVO PKWY, CHESAPEAKE, VA, 23320 - 0000, USA

Principal Information
   No Officers: If the corporation does not have officers because an organizational meeting has not been held.
    No Directors: If the corporation does not have directors because (i) initial directors were not named in the articles of
incorporation and an organizational meeting of the corporation has not been held or (ii) the board of directors has been
eliminated by a written agreement signed by all of the shareholders, or by the adoption of provision in the articles of
incorporation or bylaws that was approved by all of the shareholders.
Title                          Director                       Name                           Address
                                                                                             500 VOLVO PKWY,
President, Chief Executive
                               No                             RICHARD W. DREILING            CHESAPEAKE, VA, 23320 -
Officer
                                                                                             0000, USA
                                                                                             500 VOLVO PKWY,
Chief Information Officer      No                             ROBERT A. AFLATOONI            CHESAPEAKE, VA, 23320 -
                                                                                             0000, USA
                                                                                     500 VOLVO PKWY,
Chief Operating Officer        No                             MICHAEL C. CREEDON JR. CHESAPEAKE, VA, 23320 -
                                                                                     0000, USA
                                                                                             500 VOLVO PKWY,
Chief Financial Officer        Yes                            JEFFREY A. DAVIS               CHESAPEAKE, VA, 23320 -
                                                                                             0000, USA
                                                                                             500 VOLVO PKWY,
Chief Human Resources
                               No                             JENNIFER M. HULETT             CHESAPEAKE, VA, 23320 -
Officer
                                                                                             0000, USA
                                                                                             500 VOLVO PKWY,
Chief Merchandising Officer No                                RICHARD L. MCNEELY             CHESAPEAKE, VA, 23320 -
                                                                                             0000, USA
Senior Vice President,
                                                                                             500 VOLVO PKWY,
Senior Deputy General
                               Yes                            JOHN S. MITCHELL JR.           CHESAPEAKE, VA, 23320 -
Counsel, Corporate
                                                                                             0000, USA
Secretary

Senior Vice President, Chief                                                                 500 VOLVO PKWY,
                             No                               PEDRO VOYER                    CHESAPEAKE, VA, 23320 -
Development Officer
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Title                         Director           Name                Address
                                                                     0000, USA
                                                                     500 VOLVO PKWY,
                                                 CHRISTOPHER H.
Senior Vice President         No                                     CHESAPEAKE, VA, 23320 -
                                                 WILLIAMS
                                                                     0000, USA
                                                                     500 VOLVO PKWY,
Vice President of Tax         No                 JONATHAN L. ELDER   CHESAPEAKE, VA, 23320 -
                                                                     0000, USA
                                                                     500 VOLVO PKWY,
Vice President, Corporate
                              No                 DEBORAH E. MILLER   CHESAPEAKE, VA, 23320 -
Counsel
                                                                     0000, USA
Vice President of Corporate                                          500 VOLVO PKWY,
Governance, Assistant         No                 DEREK R. REDMOND    CHESAPEAKE, VA, 23320 -
Corporate Secretary                                                  0000, USA
                                                                     500 VOLVO PKWY,
Assistant Secretary           No                 HARRY R. SPENCER    CHESAPEAKE, VA, 23320 -
                                                                     0000, USA
                                                                     500 VOLVO PKWY,
Senior Vice President         No                 TODD B. LITTLER     CHESAPEAKE, VA, 23320 -
                                                                     0000, USA

Signature Information
Date Signed: 09/29/2023

Printed Name                             Signature                   Title
                                                                     Assistant Corporate
DEREK R. REDMOND                         DEREK R. REDMOND
                                                                     Secretary
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                                                                                            State Corporation Commission
                                                                                            Office of the Clerk
                                                                                            Entity ID: 04376604
                                                                                            Filing Number: 2312066583627
                                                                                            Filing Date/Time: 12/06/2023 11:54 AM
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Stock Corporation - Annual Report


Entity Information
                   DOLLAR TREE DISTRIBUTION,
Entity Name:                                                       Entity Type: Stock Corporation
                   INC.
Entity ID:         04376604                                    Formation Date: 12/06/1994
Jurisdiction:      VA
Status:            Active
Total Shares:      5000

Registered Agent Information
                                                                                BUSINESS ENTITY THAT IS
RA Type:           Entity                                     RA Qualification: AUTHORIZED TO TRANSACT
                                                                                BUSINESS IN VIRGINIA
                   CORPORATION SERVICE                        Registered Office 100 Shockoe Slip Fl 2, Richmond, VA,
Name:
                   COMPANY                                            Address: 23219 - 4100, USA
Locality:          RICHMOND CITY

Principal Office Address
Address: 500 VOLVO PKWY, CHESAPEAKE, VA, 23320, USA

Principal Information
   No Officers: If the corporation does not have officers because an organizational meeting has not been held.
    No Directors: If the corporation does not have directors because (i) initial directors were not named in the articles of
incorporation and an organizational meeting of the corporation has not been held or (ii) the board of directors has been
eliminated by a written agreement signed by all of the shareholders, or by the adoption of provision in the articles of
incorporation or bylaws that was approved by all of the shareholders.
Title                          Director                       Name                           Address
                                                                                             500 VOLVO PKWY,
President                      No                             MICHAEL J. KINDY               CHESAPEAKE, VA, 23320,
                                                                                             USA
                                                                                             500 VOLVO PKWY,
Vice President, Chief
                               No                             ROBERT A. AFLATOONI            CHESAPEAKE, VA, 23320,
Information Officer
                                                                                             USA
                                                                                             500 VOLVO PKWY,
                                                              MICHAEL C. CREEDON,
Chief Operating Officer        No                                                            CHESAPEAKE, VA, 23320,
                                                              JR.
                                                                                             USA
                                                                                             500 VOLVO PKWY,
Chief Financial Officer        Yes                            JEFFREY A. DAVIS               CHESAPEAKE, VA, 23320,
                                                                                             USA
                                                                                             500 VOLVO PKWY,
Chief Human Resources
                               No                             JENNIFER M. HULETT             CHESAPEAKE, VA, 23320,
Officer
                                                                                             USA
Senior Vice President,                                                                       500 VOLVO PKWY,
General Counsel, Corporate Yes                                JOHN S. MITCHELL, JR.          CHESAPEAKE, VA, 23320,
Secretary                                                                                    USA
                                                                                             500 VOLVO PKWY,
Senior Vice President, Chief
                             No                               PEDRO VOYER                    CHESAPEAKE, VA, 23320,
Development Officer
                                                                                             USA
                                                                                             500 VOLVO PKWY,
Senior Vice President          No                             TODD B. LITTLER                CHESAPEAKE, VA, 23320,
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Title                         Director           Name                Address
                                                                     USA
                                                                     500 VOLVO PKWY,
                                                 CHRISTOPHER H.
Senior Vice President         No                                     CHESAPEAKE, VA, 23320,
                                                 WILLIAMS
                                                                     USA
                                                                     500 VOLVO PKWY,
Vice President of Tax         No                 JONATHAN L. ELDER   CHESAPEAKE, VA, 23320,
                                                                     USA
                                                                     500 VOLVO PKWY,
Vice President, Corporate
                              No                 DEBORAH E. MILLER   CHESAPEAKE, VA, 23320,
Counsel
                                                                     USA
Vice President of Corporate                                          500 VOLVO PKWY,
Governance, Assistant         No                 DEREK R. REDMOND    CHESAPEAKE, VA, 23320,
Secretary                                                            USA

Signature Information
Date Signed: 12/06/2023

Printed Name                             Signature                   Title
DEREK R. REDMOND                         DEREK R. REDMOND            Assistant Secretary
Case
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                               COMMONWEALTH OF VIRGINIA                                              ngi
                            STATE CORPORATION COMMISSION                                              &

                                 AT RICHMOND, MAY 26, 2010

                                                                                                     W
The State Corporation Commission has found the accompanying articles submitted on behalf of          ,jiii,

Dollar Tree Sourcing Company, LLC
to comply with the requirements of law, and confirms payment of all required fees. Therefore, it
is ORDERED that this

CERTIFICATE OF ORGANIZATION
be issued and admitted to record with the articles of organization in the Office ofthe Clerk ofthe
Commission, effective May 26, 2010.


                                         STATE CORPORATION COMMISSION

                                         By



                                                     James C. Dimitri
                                                     Commissioner




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                             ARTICLES OF ORGANIZATION                                                    [vS
                                        OF                                                                C)
                         DOLLAR TREE SOURCING COMPANY, LLC                                                ';^
                                                                                                          A
        Pursuant to Chapter 12 of Title 13.1 of the Code of Virginia, the undersigned states as
 follows:

                                            ARTICLE I
                                             NAME

           The name oftiie lijuited liability company is Dollar Tree Sourcing Conipany, LLC.

                                     ARTICLE II
                      REGISTERED OFFICE AND REGISTERED AGENT

         Tlie post-office address of the initial registered office in Virginia is 999 Waterside Drive,
 Suite 1700, Norfolk, Virginia 23510, located in the City of Norfolk, Virginia. The registered
 agent's name is William A. Old, Jr., whose business address is identical with the registered office.
 Tlie registered agent is an individual who is a resident of Virginia and a member of the Virginia
 State Bar.

                                          ARTICLE III
                                       PRINCIPAL OFFICE

         The post office address ofthe principal office where the records will be maintained pursuant
 to Virginia Code Section 13.1-1028 is 500 Volvo Parkway, Chesapeake, Virginia 23320, located in
 the City of Chesapeake, Virginia.

                                            ARTICLE IV
                                          MANAGEMENT
           The lunited liability company shall be managed by one or more managers.


         IN WITNESS WHEREOF, the undersigned organizer has set forth his signature to these
 Articles of Organization on this 25th day of May, 2010.

                                               ORGANIZER:



                                               Laniont D. Maddox
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                     Document1-1
                              #: 1-6Filed
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                                                                             142
Case
  Case:
     2:25-cv-13399
        1:24-cv-02196Document
                     Document1-1
                              #: 1-6Filed
                                    Filed:07/16/25
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                         Exhibit 4
CaseCase:
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CaseCase:
     2:25-cv-13399
          1:24-cv-02196
                      Document
                        Document
                               1-1#: 1-5
                                      Filed
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CaseCase:
     2:25-cv-13399
          1:24-cv-02196
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                                      Filed
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                         Exhibit 5
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 2 of 38 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 4 of 38 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 5 of 38 Trans ID: LCV20251712838
Case 2:25-cv-13399   Document 1-1    Filed 07/16/25   Page 145 of 252 PageID: 153
    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 6 of 38 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 7 of 38 Trans ID: LCV20251712838
Case 2:25-cv-13399   Document 1-1    Filed 07/16/25   Page 147 of 252 PageID: 155
    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 8 of 38 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 9 of 38 Trans ID: LCV20251712838
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Case 2:25-cv-13399   Document 1-1    Filed 07/16/25   Page 152 of 252 PageID: 160
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Case 2:25-cv-13399   Document 1-1    Filed 07/16/25   Page 153 of 252 PageID: 161
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 15 of 38 Trans ID: LCV20251712838
Case 2:25-cv-13399   Document 1-1    Filed 07/16/25   Page 155 of 252 PageID: 163
   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 16 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 17 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 18 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 19 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 20 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 21 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 22 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 23 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 24 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 25 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 26 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 27 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 28 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 29 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 30 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 31 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 32 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 33 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 34 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 35 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 36 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 37 of 38 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 38 of 38 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 1 of 16 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 2 of 16 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 3 of 16 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 4 of 16 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 5 of 16 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 6 of 16 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 7 of 16 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 8 of 16 Trans ID: LCV20251712838
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    MID-L-003463-25 06/09/2025 4:03:26 PM Pg 9 of 16 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 10 of 16 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 11 of 16 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 12 of 16 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 13 of 16 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 14 of 16 Trans ID: LCV20251712838
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   MID-L-003463-25 06/09/2025 4:03:26 PM Pg 15 of 16 Trans ID: LCV20251712838
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        MID-L-003463-25 06/09/2025
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                                                        TransID:
                                                              ID:LCV20251712838
                                                                  LCV20251712838
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                        Civil Case Information Statement
Case Details: MIDDLESEX | Civil Part Docket# L-003463-25

Case Caption: GONZALEZ LESANDRA VS WANABANA                      Case Type: PERSONAL INJURY
LLC                                                              Document Type: Complaint with Jury Demand
Case Initiation Date: 06/09/2025                                 Jury Demand: YES - 6 JURORS
Attorney Name: PATRICK H CAHALANE                                Is this a professional malpractice case? NO
Firm Name: ANGLIN REA & CAHALANE, PA                             Related cases pending: NO
Address: 1005 EASTPARK BOULEVARD                                 If yes, list docket numbers:
CRANBURY NJ 08512                                                Do you anticipate adding any parties (arising out of same
Phone: 6094090444                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : GONZALEZ, LESANDRA                    Does this case involve claims related to COVID-19? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: LESANDRA GONZALEZ? NO



                                                                 Are sexual abuse claims alleged by: MARILYN GONZALEZ? NO



                                                                 Are sexual abuse claims alleged by: MARILYN GONZALEZ? NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO
Medical Debt Claim? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)
     MID-L-003463-25 06/09/2025
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                                4:03:26PM
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06/09/2025                                                  /s/ PATRICK H CAHALANE
Dated                                                                        Signed
           MID-L-003463-25 06/10/2025 5:40:33 AM Pg 1 of 1 Trans ID: LCV20251715763
      Case 2:25-cv-13399   Document 1-1      Filed 07/16/25     Page 197 of 252 PageID: 205
MIDDLESEX VICINAGE CIVIL DIVISION
P O BOX 2633
56 PATERSON STREET
NEW BRUNSWICK    NJ 08903-2633
                                              TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (732) 645-4300
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   JUNE 09, 2025
                             RE:     GONZALEZ LESANDRA        VS WANABANA LLC
                             DOCKET: MID L -003463 25

      THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON JOSEPH REA

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM        004
AT:   (732) 645-4300 EXT 88905.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: PATRICK H. CAHALANE
                                             ANGLIN REA & CAHALANE, PA
                                             1005 EASTPARK BOULEVARD
                                             CRANBURY         NJ 08512

ECOURTS
    MID-L-003463-25 06/25/2025 2:46:01 PM Pg 1 of 54 Trans ID: LCV20251851046
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    MID-L-003463-25 06/25/2025 2:46:01 PM Pg 3 of 54 Trans ID: LCV20251851046
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    MID-L-003463-25 06/25/2025 2:46:01 PM Pg 4 of 54 Trans ID: LCV20251851046
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    MID-L-003463-25 06/25/2025 2:46:01 PM Pg 5 of 54 Trans ID: LCV20251851046
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    MID-L-003463-25 06/25/2025 2:46:01 PM Pg 6 of 54 Trans ID: LCV20251851046
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    MID-L-003463-25 06/25/2025 2:46:01 PM Pg 7 of 54 Trans ID: LCV20251851046
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    MID-L-003463-25 06/25/2025 2:46:01 PM Pg 8 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 11 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 12 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 13 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 14 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 15 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 16 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 18 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 19 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 20 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 21 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 22 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 23 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 24 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 25 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 26 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 27 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 28 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 29 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 30 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 31 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 32 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 33 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 34 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 35 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 36 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 37 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 38 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 39 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 40 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 41 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 42 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 43 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 44 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 45 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 46 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 47 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 48 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 50 of 54 Trans ID: LCV20251851046
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   MID-L-003463-25 06/25/2025 2:46:01 PM Pg 51 of 54 Trans ID: LCV20251851046
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    MID-L-003463-25 06/25/2025 2:51:37 PM Pg 1 of 1 Trans ID: LCV20251851127
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